                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION

VetBridge Product Development Subsidiary I             )
(NM-OMP), LLC,                                         )
                                                       )
                Plaintiff,                             )   Case No. 5:18-CV-06147-BCW
                                                       )
vs.                                                    )
                                                       )
NewMarket Pharmaceuticals, LLC,                        )
                                                       )
                Defendant.
                                                       )


                        PLAINTIFF’S CERTIFICATE OF INTERESTS

        Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC (“VetBridge”),

by and through counsel, pursuant to Local Rule 7.1, discloses the following:

        1.      VetBridge is a Missouri limited liability company, and is a subsidiary of

VetBridge Animal Health, LLC (“VetBridge Animal Health”), which is also a Missouri limited

liability company.

        2.      The following affiliates (members) of VetBridge and VetBridge Animal Health

are publicly traded companies or are owned by publicly traded companies:

                     a. Animal Health International, Inc. (OTCMKTS: AHII) is a member of
                        VetBridge and VetBridge Animal Health and is a publicly traded
                        company;

                     b. MWI Veterinary Supply, Inc. (formerly NASDAQ: MVIV) is a member
                        of VetBridge and VetBridge Animal Health, and is a wholly owned
                        subsidiary of AmerisourceBergen (NYSE:ABC), which is a publicly
                        traded company.

        3.      Except as set forth above, VetBridge has no other parent companies, subsidiaries

or affiliates that have issued shares to the public.




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Dated: October 24, 2018.                          Respectfully submitted by,

                                                  LATHROP GAGE LLP

                                                  BY: /s/ Greer S. Lang
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                                                  Attorneys for Plaintiff


                                CERTIFICATE OF SERVICE

        I hereby certify that on October 24, 2018, the undersigned electronically filed a true and
correct copy of the above and foregoing with the Clerk of the U.S. District Court for the Western
District of Missouri using the CM/ECF system, which will send electronic notice of filing to all
counsel of record:

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                                                        /s/ Greer S. Lang
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